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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

  UNITED STATES OF AMERICA,               )
                                          )
                       Plaintiff,         )
                                          )                8:08CR450
               vs.                        )
                                          )                 ORDER
  DEVON DEMIA SMITH,                      )
                                          )
                       Defendant.         )

        Defendant Devon Demia Smith appeared before the court on July 22, 2013
  on a Petition for Warrant or Summons for Offender Under Supervision [128]. The
  defendant was represented by CJA Panel Attorney Deborah D. Cunningham, and
  the United States was represented by Assistant U.S. Attorney Michael P. Norris.
  The government moved for detention. A detention hearing was held. The
  government’s motion for detention based on flight and danger was denied.
  Therefore, the defendant was released on current conditions of supervision, and
  was not entitled to a preliminary examination.
        I find that the Report alleges probable cause and that the defendant should
  be held to answer for a final dispositional hearing before Judge Bataillon.
        IT IS ORDERED:
        1.     A final dispositional hearing will be held before Judge Bataillon, in
  Courtroom No. 3, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th
  Plaza, Omaha, Nebraska, on September 5, 2013 at 2:00 p.m. Defendant must
  be present in person.
        2      The defendant is released on current conditions of supervision.


        DATED this 22nd day of July, 2013.

                                                   BY THE COURT:

                                                   s/ F. A. Gossett
                                                   United States Magistrate Judge
